Case 1:25-cv-00946-CKK   Document 53-4      Filed 04/07/25   Page 1 of 12




                  Exhibit 3
                   Civil Action No. 25-cv-0952 (CKK)
     Case 1:25-cv-00946-CKK             Document 53-4   Filed 04/07/25   Page 2 of 12




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                     Plaintiffs,
                                                  Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE       OFFICE             OF     THE
PRESIDENT, et al.,

                      Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                     Plaintiffs,
                                                  Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                     Plaintiffs,
                                                  Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


        DECLARATION OF LIBERTY SCHNEIDER IN SUPPORT OF
 DEMOCRATIC PARTY PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


      I, Liberty Schneider, declare as follows:
      Case 1:25-cv-00946-CKK           Document 53-4         Filed 04/07/25    Page 3 of 12




        1.     I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

        2.     I am currently the Deputy Executive Director at the Democratic National

Committee, or the “DNC.” Before I was promoted to my current role, I served as the DNC’s Chief

of Staff.

        3.     The DNC is the Democratic Party’s national committee and is dedicated to electing

Democratic candidates at the national, state, and local levels. In support of our mission, the DNC

seeks to register new voters as Democratic Party members and supporters; to preserve the lawful

registration status of Democratic Party members and other Democratic Party supporters; to

encourage and assist Democratic Party members and supporters in casting ballots and having those

ballots count; to protect registered Democratic Party members and supporters from unlawful

retaliation or intimidation; and to preserve the legal rights of our voters.

        4.     The DNC has approximately 450 formal members who are party officials, including

State Party leaders, elected officials, and Democratic voters. The DNC also considers any

registered Democrat to be a member of the DNC and the Democratic Party, because Democratic

voters influence and ultimately determine the DNC’s strategic and political direction by electing

certain DNC members and Democratic candidates to local, state, and federal offices.

        5.     In my role as Deputy Executive Director, I oversee many of the DNC’s program

teams, including organizing, communications, training, fundraising, political strategy, and

coalitions. In my previous role as Chief of Staff, I was also heavily involved in programming,

committee-wide initiatives, and the DNC’s day-to-day operations.

        6.     The DNC is actively planning, preparing, budgeting, and strategizing for upcoming

gubernatorial elections in New Jersey and Virginia, along with the 2026 midterm elections. As the




                                                  2
      Case 1:25-cv-00946-CKK           Document 53-4         Filed 04/07/25       Page 4 of 12




backbone of the Democratic Party, the DNC provides support and resources to thousands of

candidates at the local, state, and federal level in every state across the country.

       7.      In preparation for upcoming elections, the DNC is heavily focused on encouraging

Democratic voters to vote, including by mail, and making sure they have the knowledge and

resources to do so correctly. Particularly since the pandemic, the DNC has expended significant

resources to encourage voters to vote by mail, because that method is often the most convenient

or accessible way for voters to participate.

       8.      In recent years, the DNC has developed, in partnership with our state parties, a

comprehensive outreach, assistance, and ballot-cure program to ensure Democratic voters are able

to cast mail ballots and have them counted. In cure programs, the DNC and others identify qualified

voters whose mail ballots are slated for rejection for a non-substantive defect, such as a missing

signature on a ballot envelope, and work with those voters to correct the errors and return their

ballots before the state’s applicable deadline. These programs were built with the understanding

that voters’ ballots will be counted if they are returned by the Postal Service to the proper state

election official or office by their state’s deadline, which, in many states, extends past election

day. And the DNC’s ability to fulfill our mission of electing Democratic candidates currently

depends significantly on those programs.

       9.      President Trump’s imposition of a national election day ballot receipt deadline will

disenfranchise the DNC’s members and constituents—including members of the military, their

families, and countless others who rely on voting by mail—by requiring states to reject ballots not

received by election day, even where state law provides a longer period for receipt. This impact

will fall particularly hard on Democratic voters in states where elections are conducted primarily

by mail, such as California, Nevada, Oregon, Utah, and Washington—all of which have mail ballot




                                                   3
      Case 1:25-cv-00946-CKK           Document 53-4         Filed 04/07/25      Page 5 of 12




receipt deadlines past election day, and many of which have competitive districts that are regularly

decided by small margins. The same is true in New York, which recently expanded mail voting to

all voters.

        10.    Elections in California, in particular, will be heavily impacted by an election day

ballot receipt deadline given the sheer size of the state and the widespread use of mail voting.

California currently accepts mail ballots that arrive up to seven days after election day. And in

recent elections, an overwhelming majority of California voters submitted their ballots by mail—

in the 2022 general election, more than 9 million mail ballots were submitted, comprising nearly

90% of all votes. And in 2024, over 13 million mail ballots were submitted, accounting for more

than 80% of all votes. Given these numbers, shortening the mail ballot receipt deadline by a week

will necessarily negatively impact a substantial number of voters in future elections.

        11.    The imposition of a national election day receipt deadline will cause significant

confusion among voters as to which deadline applies – election day, per the President’s Executive

Order, or the one provided by state law. Voters may follow their own state’s law only to be

disenfranchised as a result. The DNC further fears that the election day receipt deadline could call

into question state laws that permit voters to “cure” timely mail ballots with minor technical errors

in the days after election day, undermining the DNC’s planned post-election ballot cure program.

        12.    Voters often get accustomed to voting a certain way by a certain deadline, and in

fact, the DNC encourages developing voting habits so that voting becomes routine for its

constituents. Because it is difficult to change voters’ habits, the DNC expects that, despite its best

efforts, the new mail ballot receipt deadline will inevitably lead to voter disenfranchisement and

cause Democratic candidates to lose votes because ballots will arrive after the deadline. Other

voters may not vote at all, even if they have a ballot in hand, if they believe that the ballot is not




                                                  4
      Case 1:25-cv-00946-CKK            Document 53-4        Filed 04/07/25      Page 6 of 12




likely to arrive before the deadline.

       13.     In an effort to thwart the harmful effects of President Trump’s Order and to ensure

voters are not disenfranchised, the DNC will be forced to redirect its limited resources toward new

mail voting and ballot cure programs. For example, the DNC will have to replace its existing mail-

voter assistance and outreach programming with programming aimed at ensuring voters return

their ballots by election day. The Postal Service and state officials typically advise voters to build

in seven days or more for a ballot to be delivered, and even that window is often not sufficient.

The Postal Service also recently announced a plan to cut 10,000 jobs, reduce work hours, and close

facilities, all of which will slow down mail service.

       14.     Given the likelihood of mail delays, the DNC will need to develop new voter

education programs, including but not limited to social media campaigns and direct outreach aimed

at encouraging voters to return their ballots far sooner than they have in the past, and without the

benefit of a clear election day deadline for placing their ballots in the mail. And in states that have

previously counted ballots that arrive after election day, the change also means that mail voters

have less time to make their final decisions about which candidates to support, and the DNC

consequently has less time to persuade and mobilize them. The DNC will be further forced to stand

up additional voter education and engagement programming to encourage voters to use other

methods of voting to minimize the risk of disenfranchisement.

       15.     The DNC hosts and manages a voter protection hotline, which voters often use to

speak with trained DNC staff and volunteers about their registration status, how to vote, and how

to cure their ballots in the weeks leading up to election day. Due to the risk that voters will be

confused about mail ballot deadlines, the DNC will need to train its voter protection hotline

volunteers on the new mail ballot deadline to ensure voters have the information they need to




                                                  5
      Case 1:25-cv-00946-CKK              Document 53-4      Filed 04/07/25      Page 7 of 12




ensure their votes are counted.

       16.     Finally, the DNC will be forced to prepare to implement an entirely new ballot cure

program to account for the risk that election officials will refuse to allow timely ballots to be cured

past election day.

       17.     These programs, which will need to be implemented in dozens of states, come at a

significant cost. Because the DNC has not budgeted for these new, widespread programs, we will

be required to scale back or cut the initiatives we currently have planned for persuading and

mobilizing supporters to elect Democratic candidates to local, state, and federal offices across the

country. For example, a large portion of the DNC’s budget for the 2026 election cycle will be

allocated for getting out the vote. This will require significant expenditures on advertisements,

peer-to-peer texting, and canvassing. But because we will need to unexpectedly spend money to

educate voters in many states on an earlier mail ballot deadline, we will necessarily have to scale

back these get-out-the-vote activities.

       18.     The DNC is also working to ensure that all eligible Democratic voters (and voters

who are likely to support Democratic candidates) are registered to vote, and that their registrations

are current. For example, the DNC maintains a website that provides voters in all fifty states with

the information they need to register to vote and check their registrations. The DNC also routinely

sends voters targeted emails and text messages with information on registering to vote in their

state. For many of our members and constituents, the most accessible option for registering to vote

is the National Mail Voter Registration Form, commonly referred to as the “Federal Form.” This

form streamlines the voter registration process and does not require voters to gather or submit any

additional documentation.

       19.     Existing law already makes it illegal for foreign nationals to register and vote in our




                                                  6
      Case 1:25-cv-00946-CKK               Document 53-4   Filed 04/07/25      Page 8 of 12




elections, and our existing law prevents non-citizens from voting. And there is no evidence of

widespread voting by non-citizens in U.S. elections. The Order’s unnecessary documentary proof

of citizenship requirement will make it significantly harder for the DNC’s members and

constituents—qualified U.S. citizens—to register and remain registered to vote. For example,

millions of American citizens, including many of the DNC’s members and constituents, lack

qualifying proof of citizenship documents, and as a result, will be unable to register to vote using

the Federal Form. The DNC’s lower-income members and constituents who do not travel out of

the country may lack qualifying citizenship documents—like a passport—or the ability to easily

obtain them. President Trump’s proof of citizenship requirement also singles out recipients of

public assistance for additional citizenship assessments before even receiving a Federal Form.

Additionally, women make up a majority part of the DNC’s coalition, many of whom have

changed their last name upon marriage, such that their legal name does not match their citizenship

documents. It will therefore be more difficult for married women to provide documentary proof of

citizenship to register to vote as well.

        20.     The burdens imposed by the documentary proof of citizenship requirement will be

particularly acute in Arizona, where there is a special congressional primary election in Arizona

Congressional District 7 on July 15, 2025, and a general election on September 23, 2025. Voter

registration for the primary and general election close on June 16, 2025 and August 25, 2025,

respectively. Arizona has imposed a documentary proof of citizenship requirement to vote in state

elections, but until President Trump’s Order, allowed voters to register with the Federal Form and

vote in federal elections without providing proof of citizenship. Such voters who use the Federal

Form and do not provide proof of citizenship are known as “federal-only” voters. With President

Trump’s mandate that Federal Form users also submit documentary proof of citizenship, all voter




                                                  7
     Case 1:25-cv-00946-CKK            Document 53-4        Filed 04/07/25        Page 9 of 12




registrants in Arizona will be required to submit such documentation, regardless of the form they

use to register. As of July 2023, there were nearly 20,000 active federal-only voters in Arizona

who were registered without documentary proof of citizenship. And that number does not account

for the thousands of citizens who are eligible to vote in Arizona, but are not yet registered and now

will be unable to register because they lack the required proof of citizenship.

       21.     To counteract the burdens the documentary proof of citizenship requirement

imposes on DNC members and constituents, the DNC will be forced to divert resources away from

other critical priorities to aid voters attempting to comply or complete a different means of

registering. For example, the DNC will have to conduct a nationwide voter education campaign to

ensure eligible voters are aware that all new registrants must provide qualifying proof of

citizenship when registering with the Federal Form. The DNC will also need to engage in direct

outreach to eligible voters to inform them that only certain documents qualify as proof of

citizenship under President Trump’s order, and assist them in obtaining such documents if they do

not already have them.

       22.     This work will need to begin soon, ahead of the gubernatorial elections that are

taking place in just a few months, given that the New Jersey and Virginia voter registration

deadlines are fast approaching. And looking ahead to 2026, it will take a substantial amount of

time, resources, and infrastructure needed to build these programs in time for them to be effective

before the midterm elections.

       23.     Because the DNC’s resources are limited, these efforts will necessarily come at the

cost of other critical planned expenditures in the months leading up to the upcoming elections. For

example, the DNC (along with DCCC) recently launched a billboard campaign in Republican-

controlled districts encouraging residents to demand their representatives hold town halls. The




                                                 8
     Case 1:25-cv-00946-CKK            Document 53-4        Filed 04/07/25       Page 10 of 12




billboards were placed in these districts to kick off a “People’s Town Hall” series to hold

Republican elected officials accountable. The DNC planned to continue with similar advertising

and voter engagement campaigns throughout the 2026 election cycle, but it will have fewer funds

available to do so if it is forced to make unplanned expenditures educating voters on new voter

registration requirements.

       24.     The DNC’s voter education efforts will be further upended by President Trump’s

order granting third parties unauthorized access to federal systems and databases containing the

personal information of DNC members and constituents. These unauthorized disclosures will

subject the DNC’s members and constituents to unlawful investigation and possible removal from

the voter rolls based on false suspicion of not being U.S. citizens. As a result, it will be harder for

the DNC to register new voters who reasonably fear that their personal identifying information

will be disclosed to third parties. Some of our members and constituents are extremely concerned

about protecting their private information, so much so that they may be willing to forgo registering

and exercising their right to vote to ensure that their information is protected. That means the DNC

will need to spend significant resources to initiate a program to persuade voters to register despite

these privacy concerns.

       25.     Additionally, granting such unauthorized disclosures will put the DNC’s members

and constituents at risk of being wrongly removed from the voter rolls. The DNC will therefore

need to conduct outreach to remind voters to check their registrations and aid voters through the

process of restoring their registrations—including by complying with the new documentary proof

of citizenship requirements—if they have been wrongly removed. The DNC will also have to staff

its voter protection hotline much earlier this election cycle due to the risk that voters will be

removed from the rolls and confused about how to re-register. This will require a significant




                                                  9
     Case 1:25-cv-00946-CKK           Document 53-4        Filed 04/07/25     Page 11 of 12




investment in staff time and resources to recruit and train volunteers on the changes in the law and

how to aid affected voters.

       26.     The Order’s ballot receipt deadline, proof of citizenship requirement, and

unauthorized data-sharing provisions will impose imminent harm on the DNC. As explained

above, the DNC will need to redirect significant amounts of its limited resources to thwart the

harmful effects of these massive changes to voting and election rules, and those budget allocation

decisions will need to be made now.

       27.     In elections, the resources a political party committee has are limited as the

committee works to expend its resources to elect its candidates in any given election cycle.

Resources that must be diverted to responding to a seismic change like those contained in President

Trump’s Order necessarily come at the cost of the DNC’s other mission-critical planned activities

and expenditures. And once those resources are diverted toward unplanned programming, they

cannot be used to persuade voters to elect Democratic candidates, directly undermining the DNC’s

mission.

       28.     This puts the DNC at a competitive disadvantage. In the last several election cycles,

Democrats have become more likely to vote by mail. Because of demographics, Democrats are

disproportionately likely to lack qualifying proof of citizenship and to be wrongly suspected of not

being a citizen. By dictating these new rules for federal elections, President Trump is therefore

making it more difficult for the DNC’s members and constituents to vote in elections, and for the

candidates the DNC supports to compete. And when fewer Democrats hold elected office, the

DNC raises (and therefore spends) less money, inflicting further harm on our organization and

limiting our ability to increase our resources to counteract the effects of these new requirements.




                                                10
Case 1:25-cv-00946-CKK         Document 53-4         Filed 04/07/25      Page 12 of 12




 I declare under penalty of perjury that the foregoing is true and correct.
                                                       
                                        Executed on: _______________________________



                                        __________________________________________
                                        Liberty Schneider, Deputy Executive Director
                                        Democratic National Committee




                                          11
